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The following constitutes the ruling of the court and has the force and effect therein described.



Signed March 12, 2025
                                           United States Bankruptcy Judge
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                                           )
          In re:                                                           )     Chapter 11
                                                                           )
          ZIPS CAR WASH, LLC, et al.,1                                     )     Case No. 25-80069 (MVL)
                                                                           )
                                   Debtors.                                )     (Jointly Administered)
                                                                           )
                                                                           )     Re: Docket No. 114

                               ORDER (I) SETTING BAR DATES
                        FOR FILING PROOFS OF CLAIM; (II) APPROVING
                     FORM AND MANNER FOR FILING PROOFS OF CLAIM;
             AND (III) APPROVING THE FORM AND MANNER FOR FILING PROOFS
          OF CLAIM, INCLUDING SECTION 503(b)(9) REQUESTS NOTICE OF BAR DATES

                   Upon consideration of the motion (“Motion”)2 of the debtors and debtors in possession on

      the above-captioned chapter 11 cases (collectively, the “Debtors”), for entry of an order


      1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
            numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
            LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
            Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A);
            and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
            address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.
      2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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(this “Order”) (a) setting bar dates for the filing of proofs of claim, (b) approving the form and

manner for filing proofs of claim, (c) approving the notice of bar dates, and (d) granting related

relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and the United

States District Court for the Northern District of Texas having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court pursuant to 28 U.S.C. § 157(a) and

the Order of Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc from the United

States District Court for the Northern District of Texas dated August 3, 1984; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

        1.      Except as otherwise provided below, each person or entity that asserts a claim

against the Debtors that arose (or is deemed to have arisen) before the Petition Date, including all

priority claims, shall be required to file an original, written Proof of Claim, substantially in the

form of Official Form 410, so that such Proof of Claim form is actually received on or before




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April 10, 2025 at 4:00 p.m. (prevailing Central Time) (the “Claims Bar Date”) by the Claims and

Noticing Agent in accordance with the instructions set forth in this Order.

        2.      Any entity that asserts a claim against the Debtors that arose before the Petition

Date is authorized to file a Proof of Claim that redacts personally identifiable information with the

Claims and Noticing Agent; provided that an unredacted Proof of Claim shall be provided upon

request by the Debtors.

        3.      The Debtors are authorized to take reasonable action to prevent an individual’s

personally identifiable information from being publicly available on the claims register.

        4.      Any person or entity that holds a claim arising from the rejection of an executory

contract or unexpired lease must file Proofs of Claim with respect to such claims so that they are

actually received on or before the later of (a) the Claims Bar Date or the Governmental Bar Date,

as applicable, and (b) 4:00 p.m. (prevailing Central Time) on the date that is thirty (30) days from

the date of entry of such order, unless otherwise ordered by the Court.

        5.      All governmental units holding claims (whether secured, unsecured priority, or

unsecured non-priority) that arose (or is deemed to have arisen) before the Petition Date must file

Proofs of Claim, including claims for unpaid taxes, if any, whether such claims arise from

prepetition tax years or periods, or prepetition transactions to which the Debtors were a party, so

that they are actually received on or before August 4, 2025 at 4:00 p.m. (prevailing Central Time)

(the “Governmental Bar Date”) by the Claims and Noticing Agent in accordance with the

instructions set forth in this Order.

        6.      In the event that the Debtors amend or supplement their Schedules after having

given notice of the Bar Dates, holders of claims affected thereby must file Proofs of Claim with

respect to such claims so that they are actually received on or before the later of: (a) the Claims




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Bar Date or the Governmental Bar Date, as applicable to such claims; and (b) 4:00 p.m. (prevailing

Central Time) on the date that is thirty (30) days from the date on which the Debtors mail notice

of the amendment or supplement to the Schedules (the “Amended Schedules Bar Date”). Notice

of the Amended Schedules Bar Date shall be sent to each claimant holding a claim affected by any

such amendment or supplement and shall describe the listing and treatment of such claim on the

Schedules, including how such treatment has changed, if applicable, and indicate the Amended

Schedules Bar Date for such claim.

       7.      All Proofs of Claim must be actually received by the Claims and Noticing Agent

on or before the applicable Bar Date. If Proofs of Claim are not received by the Claims and

Noticing Agent on or before the applicable Bar Date, the holders of the underlying claims shall be

barred from asserting such claims against the Debtors and precluded from voting on any chapter

11 plans filed in these chapter 11 cases and/or receiving distributions from the Debtors on account

of such claims in these chapter 11 cases.

       8.      The following entities holding claims against the Debtors arising prior to the

Petition Date shall be required to file a Proof of Claim on or before the applicable Bar Date:

               a.     any entity whose claim against a Debtor is not listed in the applicable
                      Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if
                      such entity desires to participate in these chapter 11 cases or share in any
                      distribution in any of these chapter 11 cases;

               b.     any entity who believes that its claim is improperly classified in the
                      Schedules or is listed in an incorrect amount and who desires to have its
                      claim allowed in a different classification or amount other than that
                      identified in the Schedules;

               c.     any former or present full-time, part-time, salaried, or hourly employees
                      must submit Proofs of Claim relating to any grievance, including claims for
                      wrongful termination, discrimination, harassment, hostile work
                      environment, retaliation, and/or unpaid severance to the extent grounds for
                      such grievances arose on or prior to the Petition Date; provided that current
                      employees of the Debtors are not required to file a Proof of Claim for wages,



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                            commissions, or benefits if an order of this Court authorized the Debtors to
                            honor such claim in the ordinary course of business;

                   d.       any entity that believes that its prepetition claim as listed in the Schedules
                            is not an obligation of the specific Debtor against which the claim is listed
                            and that desires to have its claim allowed against a Debtor other than that
                            identified in the Schedules; and

                   e.       any entity who believes that its claim against a Debtor is or may be an
                            administrative expense pursuant to section 503(b)(9) of the
                            Bankruptcy Code.

          9.       The following entities, in the capacities described below, shall not be required to

file a Proof of Claim prior to the applicable Bar Date:

                   a.       the U.S. Trustee, on account of claims for fees payable pursuant to
                            28 U.S.C. § 1930;

                   b.       any entity that already has filed a signed Proof of Claim against the
                            applicable Debtor with the Claims and Noticing Agent in a form
                            substantially similar to Official Form 410 with respect to the claim asserted
                            therein;

                   c.       any person or entity whose claim is listed on the Schedules if: (i) the claim
                            is not scheduled by the Debtors as any of “disputed,” “contingent,” or
                            “unliquidated;” (ii) such person or entity agrees with the amount, nature,
                            and priority of the claim as set forth in the Schedules; and (iii) such entity
                            does not dispute that its claim is an obligation only of the specific Debtor
                            against which the claim is listed in the Schedules;3

                   d.       any person or entity whose claim has previously been allowed by order of
                            the Court;

                   e.       any person or entity whose claim has been paid in full by the Debtors
                            pursuant to the Bankruptcy Code or in accordance with an order of the
                            Court;

                   f.       a current employee of the Debtors, if an order of this Court authorized the
                            Debtors to honor such claim in the ordinary course of business as a wage,
                            commission, or benefit; provided that such current employee must submit a
                            Proof of Claim by the Claims Bar Date for all other claims arising before
                            the Petition Date;



3     In the event such a party does file a Proof of Claim, the filed Proof of Claim will supersede the Schedules. See
      B.R. 3006(c)(4).



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              g.     any Debtor having a claim against another Debtor;

              h.     any counterparty to an executory contract or unexpired lease whose contract
                     or lease has been assumed or assumed and assigned by the Debtors, solely
                     with respect to claims arising under such contract or lease;

              i.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                     the Bankruptcy Code as an expense of administration incurred in the
                     ordinary course, including any professionals retained by any creditors’
                     committee, or any other statutory committee, that assert administrative
                     claims for fees and expenses subject to the Court’s approval pursuant to
                     sections 330 and 331 of the Bankruptcy Code, but in each case, solely to the
                     extent of such administrative claim(s), provided that any entity asserting a
                     claim entitled to priority under section 503(b)(9) of the Bankruptcy Code
                     must assert such claims by filing a request for payment or a Proof of Claim
                     on or prior to the Claims Bar Date;

              j.     any person or entity holding a claim for which a separate deadline is fixed
                     by the Court;

              k.     holders of claims for fees and expenses of professionals retained in these
                     chapter 11 cases;

              l.     in accordance with paragraph 16 the DIP Order, the Prepetition Term Loan
                     Secured Parties (as defined in the DIP Order) and the DIP Secured Parties
                     (as defined in the DIP Order), for claims arising from or relating to the DIP
                     Facility or the Prepetition Term Loan Obligations (as defined in the DIP
                     Order), as applicable; and

              m.     any person or entity holding an equity interest in any Debtor.

       10.    The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

              a.     Contents of Claim Form. Each Proof of Claim Form must (i) be written in
                     legible English; (ii) include a claim amount denominated in United States
                     dollars; (iii) conform substantially with the Proof of Claim Form provided
                     by the Debtors or to Official Form 410; and (iv) be signed by the holder of
                     the claim or by an authorized agent of the holder of the claim, whether such
                     signature is an electronic signature or is ink.

              b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                     priority under section 503(b)(9) of the Bankruptcy Code must also:
                     (i) include the value of the goods delivered to and received by the Debtors
                     in the twenty (20) days prior to the Petition Date; (ii) attach any
                     documentation identifying the particular invoices for which the section
                     503(b)(9) claim is being asserted; and (iii) attach documentation of any


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                reclamation demand made to the Debtors under section 546(c) of the
                Bankruptcy Code (if applicable).

           c.   Original Signatures Required. Only (i) original Proof of Claim forms
                signed electronically or in ink or (ii) Proof of Claim forms submitted and
                signed electronically using the electronic filing interface available at
                https://cases.ra.kroll.com/ZipsCarWash will be deemed acceptable for
                purposes of claims administration. Proof of claim forms sent by facsimile
                or electronic mail will not be accepted.

           d.   Identification of the Debtor Entity. Each Proof of Claim form must clearly
                identify the Debtor against which a claim is asserted, including the
                individual Debtor’s case number. A Proof of Claim form filed without
                identifying a specific Debtor will be deemed as filed only against Zips Car
                Wash, LLC.

           e.   Claim Against Multiple Debtor Entities. Except as otherwise provided in
                this Order or any other order of the Court, each Proof of Claim must state a
                claim against only one Debtor and clearly indicate the Debtor against which
                the claim is asserted. To the extent more than one Debtor is listed on the
                Proof of Claim form, such claim may be treated as if filed only against Zips
                Car Wash, LLC.

           f.   Supporting Documentation. Each Proof of Claim form must include
                supporting documentation in accordance with Bankruptcy Rules 3001(c)
                and 3001(d). Any supporting documentation that includes personally
                identifiable information should be redacted or hidden prior to submission.

           g.   Timely Service. Each Proof of Claim form, including supporting
                documentation, must be filed or submitted, including supporting
                documentation, through any of the following methods: (i) electronic
                submission through PACER (Public Access to Court Electronic Records at
                https://ecf.txnb.uscourts.gov/); (ii) via the electronic filing interface
                available on the Claims and Noticing Agent’s website at
                https://cases.ra.kroll.com/ZipsCarWash or (iii) by U.S. mail, overnight U.S.
                mail, or other hand delivery system, so as to be actually received by the
                Claims and Noticing Agent on or before the applicable Bar Date at the
                following address:




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                                                 For First-Class Mail to:


                                    Zips Car Wash, LLC, Claims Processing Center
                                     c/o Kroll Restructuring Administration LLC
                                         Grand Central Station, PO Box 4850
                                             New York, NY 10163-4850

                                         For hand delivery or Overnight Mail to:

                                    Zips Car Wash, LLC, Claims Processing Center
                                     c/o Kroll Restructuring Administration LLC
                                              850 3rd Avenue, Suite 412
                                             Brooklyn, New York 11232


                              PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                                ELECTRONIC MAIL WILL NOT BE ACCEPTED.

               h.      Receipt of Service. Claimants wishing to receive acknowledgment that
                       their Proof of Claim forms were received by the Claims and Noticing Agent
                       must submit (i) a copy of the Proof of Claim form; and (ii) a self-addressed,
                       stamped envelope.

       11.     No later than three (3) business days after entry of this Order, or as soon as

reasonably practicable thereafter, the Debtors shall cause written notice of the Bar Dates,

substantially in the form annexed as Exhibit 1 (the “Bar Date Notice”) to be mailed via first class

mail, to the following entities:

               a.      the Debtors and their counsel;

               b.      the U.S. Trustee for the Northern District of Texas;

               c.      any statutory committee appointed in these chapter 11 cases and its counsel;

               d.      the entities listed as holding the 30 largest unsecured claims against the
                       Debtors (on a consolidated basis);

               e.      all known creditors and other known holders of claims against the Debtors;

               f.      the Prepetition Term Loan Lenders and their counsel;




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                  g.       all persons or entities that have requested notice of the proceedings in these
                           chapter 11 cases pursuant to Bankruptcy Rule 2002 as of the date of the Bar
                           Date Order;

                  h.       all persons or entities that have filed proofs of claim in these chapter 11
                           cases as of the date of the Bar Date Order;

                  i.       all known non-Debtor equity and interest holders of the Debtors as of the
                           date the Bar Date Order is entered;4

                  j.       all known entities who are party to executory contracts and unexpired leases
                           with the Debtors;

                  k.       all known entities who are party to active litigation with the Debtors;

                  l.       all current and former employees of the Debtors employed within one year
                           of the Petition Date (to the extent that contact information for former
                           employees is available in the Debtors’ records);

                  m.       all regulatory authorities that regulate the Debtors;

                  n.       the Office of the Attorney General for the State of Texas and each of the
                           states in which the Debtors conduct business;

                  o.       the Office of the United States Attorney for the Northern District of Texas;

                  p.       the United States Internal Revenue Service;

                  q.       all other taxing authorities for the jurisdictions in which the Debtors
                           maintain or conduct business; and

                  r.       all other entities listed on the Debtors’ creditor matrix.

          12.     The Debtors shall also post the Bar Date Notice on the Debtors’ case website

established by the Claims and Noticing Agent at https://cases.ra.kroll.com/ZipsCarWash.

          13.     The Debtors shall also publish the Bar Date Notice on one occasion in the national

edition of The New York Times, or a similarly situated publication, within three (3) business days

of entry of the Bar Date Order, or as soon as reasonably practicable thereafter.




4     The Debtors will serve (or cause to be served) a Bar Date Notice without a Proof of Claim Form on all known
      holders of equity securities in the Debtors.



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        14.     The Debtors are authorized, in their discretion, to extend the applicable Bar Date

for certain holders of claims by stipulation where the Debtors determine that such extension is in

the best interest of their estates.

        15.     The Debtors shall serve notice of the Bar Dates to their known creditors, and such

mailing shall be made to the last known mailing address for each such creditor, as reflected in the

Debtors’ books and records at such time.

        16.     After the initial service of the Bar Date Notice, the Debtors may, in their sole

discretion, make supplemental mailings of notices, including in the event that: (a) notices are

returned by the post office with forwarding addresses; (b) certain parties acting on behalf of parties

in interest decline to pass along notices to these parties and instead return their names and addresses

to the Debtors for direct mailing, and (c) additional potential claimants become known as the result

of the Bar Date mailing process. In this regard, the Debtors may make supplemental mailings of

the Bar Date Notice in these and similar circumstances at any time up to twenty-one (21) days in

advance of the applicable Bar Date, with any such mailings being deemed timely and the Bar Date

being applicable to the recipient creditors. The Debtors shall not be required to mail additional

notices to any entity or party for which any notice is returned to the Debtors as “return to sender”

without a forwarding address.

        17.     The Debtors shall cause notice of the Bar Dates to be given by publication to

creditors to whom notice by mail is impracticable, including creditors who are unknown or not

reasonably ascertainable by the Debtors and creditors whose identities are known but whose

addresses are unknown by the Debtors. Specifically, the Debtors shall cause the Publication

Notice to be published as soon as reasonably practicable after entry of the Bar Date Order on one

occasion in the national edition of The New York Times, or a similarly situated publication, and




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any such other local publications that the Debtors deem appropriate and disclose in the Claims and

Noticing Agent’s affidavit of service.

       18.     The Bar Date Notice, the Publication Notice, and any supplemental notices that the

Debtors may send from time to time as set forth in this Order constitute adequate and sufficient

notice of each of the respective Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules.

       19.     Any person or entity that is required, but fails, to file a Proof of Claim in accordance

with this Order on or before the applicable Bar Date shall be forever barred, estopped, and enjoined

from asserting such claim against the Debtors and their chapter 11 estates (or filing a Proof of

Claim with respect thereto) and the Debtors and their property and estates shall be forever

discharged from any and all indebtedness or liability with respect to or arising from such claim.

Without limiting the foregoing sentence, any creditor asserting a claim entitled to priority pursuant

to section 503(b)(9) of the Bankruptcy Code that fails to file a Proof of Claim in accordance with

this Order shall not be entitled to any priority treatment on account of such claim pursuant to

section 503(b)(9) of the Bankruptcy Code, regardless of whether such claim is identified on the

Schedules as not contingent, not disputed, and liquidated. Such person or entity shall not be treated

as a creditor with respect to such claim for any purpose in these chapter 11 cases.

       20.     Any such entity that is required, but fails, to file a Proof of Claim in accordance

with this Order on or before the applicable Bar Date shall be prohibited from voting to accept or

reject any chapter 11 plan filed in these chapter 11 cases, participating in any distribution in these

chapter 11 cases on account of such claim, or receiving further notices regarding such claim.

       21.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




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       22.      The Debtors are authorized to take all actions necessary to implement the relief

granted in this Order.

       23.      Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order shall be immediately effective and enforceable upon its entry.

       24.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       25.      The Court retains jurisdiction with respect to all matters arising from or relating to

the implementation, interpretation, and enforcement of this Order.

                                    # # # END OF ORDER # # #

Submitted by:
GRAY REED                                           KIRKLAND & ELLIS LLP
Jason S. Brookner (TX Bar No. 24033684)             KIRKLAND & ELLIS INTERNATIONAL LLP
Aaron M. Kaufman (TX Bar No. 24060067)              Joshua A. Sussberg, P.C. (admitted pro hac vice)
Amber M. Carson (TX Bar No. 24075610)               Ross J. Fiedler (admitted pro hac vice)
1601 Elm Street, Suite 4600                         601 Lexington Avenue
Dallas, Texas 75201                                 New York, New York 10022
Telephone: (214) 954-4135                           Telephone: (212) 446-4800
Facsimile:    (214) 953-1332                        Facsimile:    (212) 446-4900
Email:        jbrookner@grayreed.com                Email:        joshua.sussberg@kirkland.com
              akaufman@grayreed.com                               ross.fiedler@kirkland.com
              acarson@grayreed.com
                                                    -and-

                                                    Lindsey Blumenthal (admitted pro hac vice)
                                                    333 West Wolf Point Plaza
                                                    Chicago, Illinois 60654
                                                    Telephone: (312) 862-2000
                                                    Facsimile     (312) 862-2200
                                                    Email         lindsey.blumenthal@kirkland.com

Proposed Co-Counsel for the Debtors                 Proposed Co-Counsel for the Debtors
and Debtors in Possession                           and Debtors in Possession




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                                  Exhibit 1

                               Bar Date Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    ZIPS CAR WASH, LLC, et al.,1                                     )     Case No. 25-80069 (MVL)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

    NOTICE OF (I) DATE BY WHICH PARTIES MUST FILE PROOFS OF CLAIM; AND
     (II) PROCEDURES FOR FILING PROOFS OF CLAIM AGAINST THE DEBTORS

        The debtors and debtors in possession on the above-captioned chapter 11 cases
(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Texas (the “Court”) on February 5, 2025
(the “Petition Date”).

         On February 13, 2025, the Debtors filed the Debtors’ Motion for Entry of an Order
(I) Setting Bar Dates for Filing Proofs of Claim; (II) Approving the Form and Manner for Filing
Proofs of Claim; (III) Approving the Form and Manner for Filing Proofs of Claim, Including
Section 503(b)(9) Requests Notice of Bar Dates [Docket No. 114] (the “Bar Date Motion”) with
the Court. On March [12], 2025, the Court entered an order approving the Bar Date Motion
[Docket No. [●]] (the “Bar Date Order”) and establishing certain dates (each, a “Bar Date,” and
collectively, the “Bar Dates”) by which parties holding claims against the Debtors arising prior to
the Petition Date must file proofs of claim. Each date is expressly set forth below.

YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY BE HOLDING A CLAIM
   AGAINST THE DEBTORS IN THE ABOVE-CAPTIONED CHAPTER 11 CASES.
 THEREFORE, YOU SHOULD READ THIS NOTICE CAREFULLY AND DISCUSS IT
  WITH YOUR ATTORNEY. IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY
                      WISH TO CONSULT ONE.

                              Background to the Debtors’ Chapter 11 Cases

A.           General Information About the Debtors’ Cases. The Debtors’ chapter 11 cases are
             being jointly administered under case number 25-80069 (MVL) (Bankr. N.D. Tex.). No

1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
      LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
      Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A);
      and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
      address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.
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          request for the appointment of a trustee or examiner has been made in these chapter 11
          cases.

B.        Access to Proof of Claim Forms and Additional Information. If you have any questions
          regarding the claims processing and/or if you wish to obtain a copy of the Bar Date Motion,
          Bar Date Order, proof of claim form, or related documents (and/or any other pleadings
          filed in these chapter 11 cases) you may do so by: (i) visiting the website of the Debtors’
          claims, noticing, and solicitation agent (the “Claims and Noticing Agent”), Kroll
          Restructuring Administration LLC (“Kroll”) at: https://cases.ra.kroll.com/ZipsCarWash,
          (ii) (888) 343-1371 (Toll-Free) or (646) 876-2491 (International), and/or (iii) emailing
          ZipsCarWashInfo@ra.kroll.com. Please note that the Claims and Noticing Agent cannot
          advise you on how to file, or whether you should file, a proof of claim.

C.        Schedules of Assets and Liabilities. The Debtors intend to file their statement of financial
          affairs and schedules of assets and liabilities with the Court (collectively, the “Schedules”)
          by February 19, 2025. Once filed, the Schedules will be available online and free of charge
          at https://cases.ra.kroll.com/ZipsCarWash or for a fee via PACER at
          https://ecf.txnb.uscourts.gov/.

                                     Bar Dates Approved by the Court

       The Court has established the following Bar Dates as those dates by which parties holding
claims against the Debtors arising prior to the Petition Date must file proofs of claims so that they
are actually received by the Claims and Noticing Agent:

            Claims Bar Date:                       April 10, 2025 at 4:00 p.m. (prevailing Central
                                                   Time) (the “Claims Bar Date”) as the last date and
                                                   time for each entity2 to file proofs of claim (a “Proof
                                                   of Claim”) based on a prepetition claim, including
                                                   requests for payment under section 503(b)(9) of title
                                                   11 of the United States Code, 11 U.S.C. §§ 101–1532
                                                   (the “Bankruptcy Code”), against any Debtor;

            Governmental Bar Date:                 August 4, 2025 at 4:00 p.m. (prevailing Central
                                                   Time) (the “Governmental Bar Date”) as the last date
                                                   and time for each governmental unit (as defined in
                                                   section 101(27) of the Bankruptcy Code) to file a
                                                   Proof of Claim against any Debtor;

            Rejection Damages Bar                  Solely as to claims arising from the Debtors’ rejection
            Date:                                  of executory contracts and unexpired leases,

2     Except as otherwise defined herein, all terms specifically defined in the Bankruptcy Code shall have those
      meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim” has the
      meaning given to it in section 101(5) of the Bankruptcy Code; (b) the term “entity” (including individuals,
      partnerships, corporations, joint ventures, and trusts) has the meaning given to it in section 101(15) of the
      Bankruptcy Code; (c) “governmental unit” has the meaning given to it in section 101(27) of the Bankruptcy Code;
      and (d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy Code.



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                                        establishing the later of (a) the Claims Bar Date or
                                        the Governmental Bar Date, as applicable, and
                                        (b) 4:00 p.m., prevailing Central Time, on the date
                                        that is thirty (30) days following entry of the order
                                        approving the Debtors’ rejection or the applicable
                                        executory contract or unexpired lease as the last date
                                        and time by which each claimant holding a claim
                                        relating to such rejection must file a Proof of Claim
                                        against any Debtor (such later date, the “Rejection
                                        Damages Bar Date”); and

       Amended Schedules Bar            Solely as to claims affected by the Debtors’
       Date:                            amendment to the Schedules, the later of (a) the
                                        Claims Bar Date or the Governmental Bar Date, as
                                        applicable, and (b) 4:00 p.m., prevailing Central
                                        Time, on the date that is thirty (30) days from the date
                                        on which the Debtors mail notice of an amendment
                                        to the Schedules (such date, the “Amended Schedules
                                        Bar Date,” and together with the Claims Bar Date,
                                        Governmental Bar Date, and Rejection Damages Bar
                                        Date, the “Bar Dates”).

                          Parties Required to File Claim Forms

A.   Definition of Claim. Under section 101(5) of the Bankruptcy Code and as used herein,
     the word “claim” means: (i) a right to payment, whether or not such right is reduced to
     judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
     undisputed, legal, equitable, secured, or unsecured; or (ii) a right to an equitable remedy
     for breach of performance if such breach gives rise to a right to payment, whether or not
     such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,
     unmatured, disputed, undisputed, secured, or unsecured.

B.   Parties Who Must File Claim Forms. The following entities holding claims against the
     Debtors arising prior to the Petition Date are required to file a Proof of Claim on or before
     the applicable Bar Date:

            a.      any entity whose claim against a Debtor is not listed in the applicable
                    Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if
                    such entity desires to participate in these chapter 11 cases or share in any
                    distribution in any of these chapter 11 cases;

            b.      any entity who believes that its claim is improperly classified in the
                    Schedules or is listed in an incorrect amount and who desires to have its
                    claim allowed in a different classification or amount other than that
                    identified in the Schedules;




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                   c.       any former or present full-time, part-time, salaried, or hourly employees
                            must submit Proofs of Claim relating to any grievance, including claims for
                            wrongful termination, discrimination, harassment, hostile work
                            environment, retaliation, and/or unpaid severance prior to the Claims Bar
                            Date to the extent grounds for such grievances arose on or prior to the
                            Petition Date; provided that current employees of the Debtors are not
                            required to file a Proof of Claim for wages, commissions, or benefits if an
                            order of this Court authorized the Debtors to honor such claim in the
                            ordinary course of business;

                   d.       any entity that believes that its prepetition claim as listed in the Schedules
                            is not an obligation of the specific Debtor against which the claim is listed
                            and that desires to have its claim allowed against a Debtor other than that
                            identified in the Schedules; and

                   e.       any entity who believes that its claim against a Debtor is or may be an
                            administrative expense pursuant to section 503(b)(9) of the
                            Bankruptcy Code.

C.        Parties Who Do Not Need to File Claim Forms. Certain parties are not required to file
          a Proof of Claim. The Court may, however, enter one or more separate orders at a later
          time requiring holders of claims to file proofs of claim and setting related deadlines. If the
          Court does enter such an order, you will receive notice of it.

          The following persons or entities holding claims that would otherwise be subject to the
          applicable Bar Date need not file proofs of claim:

                   a.       the U.S. Trustee, on account of claims for fees payable pursuant to
                            28 U.S.C. § 1930;

                   b.       any entity that already has filed a signed Proof of Claim against the
                            applicable Debtor with the Claims and Noticing Agent in a form
                            substantially similar to Official Form 410 with respect to the claim asserted
                            therein;

                   c.       any person or entity whose claim is listed on the Schedules if: (i) the claim
                            is not scheduled by the Debtors as any of “disputed,” “contingent,” or
                            “unliquidated;” and (ii) such person or entity agrees with the amount,
                            nature, and priority of the claim as set forth in the Schedules; and (iii) such
                            entity does not dispute that its claim is an obligation only of the specific
                            Debtor against which the claim is listed in the Schedules;3

                   d.       any person or entity whose claim has previously been allowed by order of
                            the Court;

3     In the event such a party does file a Proof of Claim, the filed Proof of Claim will supersede the Schedules. See
      Bankruptcy Rule 3006(c)(4).



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            e.     any person or entity whose claim has been paid in full by the Debtors
                   pursuant to the Bankruptcy Code or in accordance with an order of the
                   Court;

            f.     a current employee of the Debtors, if an order of this Court authorized the
                   Debtors to honor such claim in the ordinary course of business as a wage,
                   commission, or benefit; provided that such current employee must submit a
                   Proof of Claim by the Claims Bar Date for all other claims arising before
                   the Petition Date;

            g.     any Debtor having a claim against another Debtor;

            h.     any counterparty to an executory contract or unexpired lease whose contract
                   or lease has been assumed or assumed and assigned by the Debtors, solely
                   with respect to claims arising under such contract or lease;

            i.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                   the Bankruptcy Code as an expense of administration incurred in the
                   ordinary course, including any professionals retained by any creditors’
                   committee, or any other statutory committee, that assert administrative
                   claims for fees and expenses subject to the Court’s approval pursuant to
                   sections 330 and 331 of the Bankruptcy Code, but in each case, solely to the
                   extent of such administrative claim(s), provided that any entity asserting a
                   claim entitled to priority under section 503(b)(9) of the Bankruptcy Code
                   must assert such claims by filing a request for payment or a Proof of Claim
                   on or prior to the Claims Bar Date;

            j.     any person or entity holding a claim for which a separate deadline is fixed
                   by the Court;

            k.     holders of claims for fees and expenses of professionals retained in these
                   chapter 11 cases;

            l.     in accordance with paragraph 16 the DIP Order, the Prepetition Term Loan
                   Secured Parties (as defined in the DIP Order) and the DIP Secured Parties
                   (as defined in the DIP Order), for claims arising from or relating to the DIP
                   Facility or the Prepetition Term Loan Obligations (as defined in the DIP
                   Order), as applicable; and

            m.     any person or entity holding an equity interest in any Debtor.

                          Instructions for Filing Claim Forms

A.   Contents of Claim Form. Each Proof of Claim Form must (i) be written in legible English;
     (ii) include a claim amount denominated in United States dollars; (iii) conform
     substantially with the Proof of Claim Form provided by the Debtors or to Official Form




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     410; and (iv) be signed by the holder of the claim or by an authorized agent of the holder
     of the claim, whether such signature is an electronic signature or is ink.

B.   Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to priority under
     section 503(b)(9) of the Bankruptcy Code must also: (i) include the value of the goods
     delivered to and received by the Debtors in the twenty (20) days prior to the Petition Date;
     (ii) attach any documentation identifying the particular invoices for which the section
     503(b)(9) claim is being asserted; and (iii) attach documentation of any reclamation
     demand made to the Debtors under section 546(c) of the Bankruptcy Code (if applicable).

C.   Original Signatures Required. Only (i) original Proof of Claim forms signed
     electronically or in ink or (ii) Proof of Claim forms submitted and signed electronically
     using the electronic filing interface available at https://cases.ra.kroll.com/ZipsCarWash
     will be deemed acceptable for purposes of claims administration. Proof of claim forms
     sent by facsimile or electronic mail will not be accepted.

D.   Identification of the Debtor Entity. Each Proof of Claim form must clearly identify the
     Debtor against which a claim is asserted, including the individual Debtor’s case number.
     A Proof of Claim form filed without identifying a specific Debtor will be deemed as filed
     only against Zips Car Wash, LLC.

E.   Claim Against Multiple Debtor Entities. Except as otherwise provided in the Bar Date
     Order or any other order of the Court, each Proof of Claim must state a claim against only
     one Debtor and clearly indicate the Debtor against which the claim is asserted. To the
     extent more than one Debtor is listed on the Proof of Claim form, such claim may be treated
     as if filed only against Zips Car Wash, LLC.

F.   Supporting Documentation. Each Proof of Claim form must include supporting
     documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d). Any supporting
     documentation that includes personally identifiable information should be redacted or
     hidden prior to submission.

G.   Timely Service. Each Proof of Claim form, including supporting documentation, must be
     filed or submitted, including supporting documentation, through any of the following
     methods: (i) electronic submission through PACER (Public Access to Court Electronic
     Records at https://ecf.txnb.uscourts.gov/); (ii) via the electronic filing interface available
     on the Claims and Noticing Agent’s website at https://cases.ra.kroll.com/ZipsCarWash or
     (iii) by U.S. mail, overnight U.S. mail, or other hand delivery system, so as to be actually




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       received by the Claims and Noticing Agent on or before the applicable Bar Date at the
       following address:

                                                  For First-Class Mail to:


                                     Zips Car Wash, LLC, Claims Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                          Grand Central Station, PO Box 4850
                                              New York, NY 10163-4850

                                         For hand delivery or Overnight Mail to:

                                     Zips Car Wash, LLC, Claims Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                               850 3rd Avenue, Suite 412
                                              Brooklyn, New York 11232


                              PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                                ELECTRONIC MAIL WILL NOT BE ACCEPTED.


H.     Receipt of Service. Claimants wishing to receive acknowledgment that their Proof of
       Claim forms were received by the Claims and Noticing Agent must submit (i) a copy of
       the Proof of Claim form; and (ii) a self-addressed, stamped envelope.

                  Consequences of Failing to Timely File Your Claim Form

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
or any party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar
Date Order on or before the applicable Bar Date, please be advised that (absent the consent of the
Debtors, in their sole discretion):

       ➢       YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
               FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR
               FILING A PROOF OF CLAIM WITH RESPECT THERETO);

       ➢       YOU WILL NOT RECEIVE ANY DISTRIBUTION IN                                      THESE
               CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM; AND

       ➢       YOU WILL NOT BE PERMITTED TO VOTE ON ANY CHAPTER 11
               PLAN OR PLANS FOR THE DEBTORS ON ACCOUNT OF THAT CLAIM
               OR RECEIVE FURTHER NOTICES REGARDING SUCH CLAIM.




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                            Amendments to the Debtors’ Schedules

A.     Amendments to Schedules. In the event that the Debtors amend their Schedules after the
       date of this notice, the Debtors will provide holders of claims that are affected by any such
       amendment notice of the amendment, and such parties will be given an opportunity to file
       proofs of claim before a new deadline that will be specified in that future notice.

B.     Amended Schedules Bar Date. The Court has approved the later of (i) the Claims Bar
       Date or the Governmental Bar Date, as applicable, and (ii) thirty (30) days from the date
       on which the Debtors mail notice of the amendment to the Schedules as the date by which
       holders of claims affected by the amendment must file proofs of claim with respect to such
       claims.

                                      Reservation of Rights

        Nothing contained in this notice in intended to or should be construed as a waiver of the
Debtors’ right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim
listed or reflected in the Schedules as to the nature, amount, liability, or classification thereof;
(b) subsequently designate any scheduled claim as disputed, contingent, or unliquidated; or
(c) otherwise amend or supplement the Schedules.



                          [Remainder of Page Intentionally Left Blank]




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Dated: March [●], 2025
Dallas, Texas

/s/ Draft
GRAY REED                                    KIRKLAND & ELLIS LLP
Jason S. Brookner (TX Bar No. 24033684)      KIRKLAND & ELLIS INTERNATIONAL LLP
Aaron M. Kaufman (TX Bar No. 24060067)       Joshua A. Sussberg, P.C. (admitted pro hac vice)
Amber M. Carson (TX Bar No. 24075610)        Ross J. Fiedler (admitted pro hac vice)
1601 Elm Street, Suite 4600                  601 Lexington Avenue
Dallas, Texas 75201                          New York, New York 10022
Telephone: (214) 954-4135                    Telephone: (212) 446-4800
Facsimile:    (214) 953-1332                 Facsimile:    (212) 446-4900
Email:        jbrookner@grayreed.com         Email:        joshua.sussberg@kirkland.com
              akaufman@grayreed.com                        ross.fiedler@kirkland.com
              acarson@grayreed.com
                                             -and-

                                             Lindsey Blumenthal (admitted pro hac vice)
                                             333 West Wolf Point Plaza
                                             Chicago, Illinois 60654
                                             Telephone: (312) 862-2000
                                             Facsimile     (312) 862-2200
                                             Email         lindsey.blumenthal@kirkland.com

Proposed Co-Counsel for the Debtors          Proposed Co-Counsel for the Debtors
and Debtors in Possession                    and Debtors in Possession
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                                  Exhibit 2

                             Proof of Claim Form
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 United States Bankruptcy Court, Northern District ofPage
                                 Main Document        Texas
                                                          24(Dallas
                                                             of 33 Division)
   Fill in this information to identify the case (Select only one Debtor per claim form):

    Zips Car Wash, LLC                               Zips 6050 Wade Hampton, LLC                              Zips Portfolio II, LLC
                                                                                                               
    (Case No. 25-80069)                                (Case No. 25-80074)                                      (Case No. 25-80076)

    Express Car Wash Holdings, LLC                   Zips Operating Holdings, LLC                             Zips Portfolio III, LLC
    (Case No. 25-80070)                                (Case No. 25-80071)                                      (Case No. 25-80068)
    Zips 2900 Wade Hampton, LLC                      Zips Portfolio I, LLC                                    Zips Portfolio IV, LLC
    (Case No. 25-80073                                (Case No. 25-80075)                                       (Case No. 25-80077)

    Zips 3107 N. Pleasantburg, LLC
    (Case No. 25-80072)




 Modified Official Form 410

 Proof of Claim                                                                                                                                                       12/24


  Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
  make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
  request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
  documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
  mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
  explain in an attachment.
  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

  Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



   Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                No
   someone else?                Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   Bankruptcy Procedure       Name                                                                        Name 
   (FRBP) 2002(g)
                              ______________________________________________________                       ______________________________________________________
                              Number      Street                                                           Number       Street

                              ______________________________________________________                       ______________________________________________________
                              City                       State             ZIP Code                       City                       State             ZIP Code 

                              Contact phone                                                               Contact phone

                              Contact email                                                               Contact email

                              Uniform claim identifier (if you use one):

                              __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

4. Does this claim amend        No
   one already filed?           Yes. Claim number on court claims registry (if known)                                              Filed on
                                                                                                                                               MM   / DD     / YYYY



5. Do you know if anyone        No
   else has filed a proof       Yes. Who made the earlier filing?
   of claim for this claim?


                                                                            Proof of Claim                                                                 page 1
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   Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                              No
                                                                              Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:


                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                            $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)              %
                                            Fixed
                                            Variable

10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property:




                                                                       Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                             Amount entitled to priority

   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $
   nonpriority. For example,
   in some categories, the                 Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $
   entitled to priority.
                                           Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                $

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                    $

                                           Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.                        $




13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received                          $ ____________________
    pursuant to                           by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?                which the goods have been sold to the Debtor in the ordinary course of such
                                          Debtor’s business. Attach documentation supporting such claim.



   Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.                              I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                  and correct.
 A person who files a
 fraudulent claim could be        I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,            Executed on date        _________________
 imprisoned for up to 5                                   MM / DD     /   YYYY
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.

                                  8________________________________________________________________________
                                          Signature

                                  Name of the person who is completing and signing this claim:

                                  Name
                                                         First name                           Middle name                            Last name

                                  Title

                                  Company
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                         Number            Street


                                                         City                                                         State          ZIP Code

                                  Contact phone                                                                       Email




                                                                              Proof of Claim                                                               page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/24


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed,
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form. You may view a list of filed claims in this case by
   perfection of any security interest or any assignments or       visiting the Claims and Noticing Agent's website at
   transfers of the debt. In addition to the documents, a          https://cases.ra.kroll.com/Zipscarwash/.
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).           Understand the terms used in this form
                                                                   Administrative expense: Generally, an expense that arises
 Do not attach original documents because                         after a bankruptcy case is filed in connection with operating,
   attachments may be destroyed after scanning.                    liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care           Claim: A creditor’s right to receive payment for a debt that
   information. Leave out or redact confidential                   the debtor owed on the date the debtor filed for bankruptcy.
   information both in the claim and in the attached               11 U.S.C. §101 (5). A claim may be secured or unsecured.
   documents.
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Creditor: A person, corporation, or other entity to whom a          Examples of liens on property include a mortgage on real
debtor owes a debt that was incurred on or before the date the      estate or a security interest in a car. A lien may be voluntarily
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                   granted by a debtor or may be obtained through a court
                                                                    proceeding. In some states, a court judgment may be a lien.
Debtor: A person, corporation, or other entity who is in            Setoff: Occurs when a creditor pays itself with money
bankruptcy. Use the debtor’s name and case number as shown          belonging to the debtor that it is holding, or by canceling a
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).        debt it owes to the debtor.


Evidence of perfection: Evidence of perfection of a security        Uniform claim identifier: An optional 24-character identifier
interest may include documents showing that a security              that some creditors use to facilitate payment.
interest has been filed or recorded, such as a mortgage, lien,
certificate of title, or financing statement.
                                                                    Unsecured claim: A claim that does not meet the
                                                                    requirements of a secured claim. A claim may be unsecured in
Information that is entitled to privacy: A Proof of Claim           part to the extent that the amount of the claim is more than the
form and any attached documents must show only the last 4           value of the property on which a creditor has a lien.
digits of any social security number, an individual’s tax
identification number, or a financial account number, only the
initials of a minor’s name, and only the year of any person’s       Offers to purchase a claim
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services    Certain entities purchase claims for an amount that is less than
to avoid embarrassment or disclosure of confidential health         the face value of the claims. These entities may contact
care information. You may later be required to give more            creditors offering to purchase their claims. Some written
information if the trustee or someone else in interest objects to   communications from these entities may easily be confused
the claim.                                                          with official court documentation or communications from
                                                                    the debtor. These entities do not represent the bankruptcy
                                                                    court, the bankruptcy trustee, or the debtor. A creditor has no
Priority claim: A claim within a category of unsecured
                                                                    obligation to sell its claim. However, if a creditor decides to
claims that is entitled to priority under 11 U.S.C. §507(a).
                                                                    sell its claim, any transfer of that claim is subject to
These claims are paid from the available money or
                                                                    Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
property in a bankruptcy case before other unsecured
                                                                    Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
claims are paid. Common priority unsecured claims
                                                                    the bankruptcy court that apply.
include alimony, child support, taxes, and certain unpaid
wages.
                                                                    Please send completed Proof(s) of Claim to:
                                                                    If by first class mail:
Proof of claim: A form that shows the amount of debt the            Zips Car Wash, LLC Claims Processing Center
debtor owed to a creditor on the date of the bankruptcy filing.     c/o Kroll Restructuring Administration LLC
The form must be filed in the district where the case is            Grand Central Station, PO Box 4850
pending.                                                            New York, NY 10163-4850

Redaction of information: Masking, editing out, or deleting         If by overnight courier or hand delivery:
certain information to protect privacy. Filers must redact or       Zips Car Wash, LLC Claims Processing Center
leave out information entitled to privacy on the Proof of           c/o Kroll Restructuring Administration LLC
Claim form and any attached documents.                              850 Third Avenue, Suite 412
                                                                    Brooklyn, NY 11232
Secured claim under 11 U.S.C. §506(a): A claim backed by
a lien on particular property of the debtor. A claim is secured
to the extent that a creditor has the right to be paid from the
property before other creditors are paid. The amount of a
secured claim usually cannot be more than the value of the
                                                                    Do not file these instructions with your form
particular property on which the creditor has a lien. Any
amount owed to a creditor that is more than the value of the
property normally may be an unsecured claim. But exceptions
exist; for example, see 11 U.S.C. § 1322(b) and the final
sentence of 1325(a).
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                                  Exhibit 3

                              Publication Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    ZIPS CAR WASH, LLC, et al.,1                                     )     Case No. 25-80069 (MVL)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

    NOTICE OF (I) DATE BY WHICH PARTIES MUST FILE PROOFS OF CLAIM; AND
     (II) PROCEDURES FOR FILING PROOFS OF CLAIM AGAINST THE DEBTORS

        The debtors and debtors in possession on the above-captioned chapter 11 cases
(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Texas (the “Court”) on February 5, 2025
(the “Petition Date”).

        The Court has established the following Bar Dates as those dates by which parties holding
claims against the Debtors arising prior to the Petition Date must file proofs of
claim: (a) April 10, 2025 at 4:00 p.m. (prevailing Central Time) (the “Claims Bar Date”) as the
last date and time for each entity2 to file proofs of claim (a “Proof of Claim”) based on a prepetition
claim, including requests for payment under section 503(b)(9) of title 11 of the United States Code,
11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), against any Debtor; (b) August 4, 2025 at
4:00 p.m. (prevailing Central Time) is the date by which all governmental units (as defined in
section 101(27) of the Bankruptcy Code) holding claims (whether secured, unsecured priority, or
unsecured non-priority) must file a Proof of Claim, including claims for unpaid taxes, if any,
whether such claims arise from prepetition tax years or periods, or prepetition transactions to which
the Debtors were a party (the “Governmental Bar Date”); (c) solely as to claims arising from the
Debtors’ rejection of executory contracts and unexpired leases, the later of (i) the Claims Bar
Date or the Governmental Bar Date, as applicable, and (ii) 4:00 p.m., prevailing Central Time,

1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Zips Car Wash, LLC (3045); Express Car Wash Holdings, LLC (6223); Zips 2900 Wade Hampton,
      LLC (N/A); Zips 3107 N. Pleasantburg, LLC (N/A); Zips 6050 Wade Hampton, LLC (N/A); Zips Operating
      Holdings, LLC (2161); Zips Portfolio I, LLC (9999); Zips Portfolio II, LLC (1864); Zips Portfolio III, LLC (N/A);
      and Zips Portfolio IV, LLC (N/A). The location of Debtors’ principal place of business and the Debtors’ service
      address in these chapter 11 cases is 8400 Belleview Drive, Suite 210, Plano, Texas 75024.
2     Except as otherwise defined herein, all terms specifically defined in the Bankruptcy Code shall have those
      meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim” has the
      meaning given to it in section 101(5) of the Bankruptcy Code; (b) the term “entity” (including individuals,
      partnerships, corporations, joint ventures, and trusts) has the meaning given to it in section 101(15) of the
      Bankruptcy Code; (c) “governmental unit” has the meaning given to it in section 101(27) of the Bankruptcy Code;
      and (d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy Code.
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on the date that is thirty (30) days following entry of the order approving the Debtors’
rejection of the applicable executory contract or unexpired lease as the last date and time by
which each claimant holding a claim relating to such rejection must file a Proof of Claim against
any Debtor (such later date, the “Rejection Damages Bar Date”); and (d) solely as to claims
affected by the Debtors’ amendment to the Schedules, the later of (i) the Claims Bar Date or the
Governmental Bar Date, as applicable, and (ii) 4:00 p.m., prevailing Central Time, on the date
that is thirty (30) days from the date on which the Debtors mail notice of an amendment to
the Schedules is the date by which holders of claims affected thereby must file a Proof of Claim
(the “Amended Schedules Bar Date”).

THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED,
OR PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING
ANY REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE BANKRUPTCY
CODE, ON OR BEFORE THE CLAIMS BAR DATE OR THE GOVERNMENTAL BAR
DATE, AS APPLICABLE, SHALL NOT BE TREATED AS A CREDITOR WITH
RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND DISTRIBUTION
ON ANY CHAPTER 11 PLAN.

Timely Service. Each Proof of Claim form, including supporting documentation, must be filed or
submitted, including supporting documentation, through any of the following methods:
(i) electronic submission through PACER (Public Access to Court Electronic Records at
https://ecf.txnb.uscourts.gov/); (ii) via the electronic filing interface available on the Claims and
Noticing Agent’s website at https://cases.ra.kroll.com/ZipsCarWash or (iii) by U.S. mail,
overnight U.S. mail, or other hand delivery system, so as to be actually received by the Claims
and Noticing Agent on or before the applicable Bar Date at the following address:




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                                     For First-Class Mail to:


                         Zips Car Wash, LLC, Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                              Grand Central Station, PO Box 4850
                                  New York, NY 10163-4850

                             For hand delivery or Overnight Mail to:

                         Zips Car Wash, LLC, Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                                   850 3rd Avenue, Suite 412
                                  Brooklyn, New York 11232


 PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL WILL
                        NOT BE ACCEPTED.

Contents of Claim Form. Each Proof of Claim Form must (i) be written in legible English;
(ii) include a claim amount denominated in United States dollars; (iii) conform substantially with
the Proof of Claim Form provided by the Debtors or to Official Form 410; and (iv) be signed by
the holder of the claim or by an authorized agent of the holder of the claim, whether such signature
is an electronic signature or is ink.

Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to priority under section
503(b)(9) of the Bankruptcy Code must also: (i) include the value of the goods delivered to and
received by the Debtors in the twenty (20) days prior to the Petition Date; (ii) attach any
documentation identifying the particular invoices for which the section 503(b)(9) claim is being
asserted; and (iii) attach documentation of any reclamation demand made to the Debtors under
section 546(c) of the Bankruptcy Code (if applicable).

Original Signatures Required. Only (i) original Proof of Claim forms signed electronically or in
ink or (ii) Proof of Claim forms submitted and signed electronically using the electronic filing
interface available at https://cases.ra.kroll.com/ZipsCarWash will be deemed acceptable for
purposes of claims administration. Proof of claim forms sent by facsimile or electronic mail will
not be accepted.

Identification of the Debtor Entity. Each Proof of Claim form must clearly identify the Debtor
against which a claim is asserted, including the individual Debtor’s case number. A Proof of Claim
form filed without identifying a specific Debtor may be deemed as filed only against Zips Car
Wash, LLC.

Claim Against Multiple Debtor Entities. Except as otherwise provided in the Bar Date Order or
any other order of the Court, each Proof of Claim must state a claim against only one Debtor and
clearly indicate the Debtor against which the claim is asserted. To the extent more than one Debtor



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is listed on the Proof of Claim form, such claim may be treated as if filed only against Zips Car
Wash, LLC.

Supporting Documentation. Each Proof of Claim form must include supporting documentation
in accordance with Bankruptcy Rules 3001(c) and 3001(d). Any supporting documentation that
includes personally identifiable information should be redacted or hidden prior to submission.

Additional Information. If you have any questions regarding the claims processing and/or if you
wish to obtain a copy of the Bar Date Motion, Bar Date Order, Proof of Claim form, or related
documents (and/or any other pleadings filed in these chapter 11 cases) you may do so by:
(i) visiting the website of the Debtors’ claims, noticing, and solicitation agent, Kroll Restructuring
Administration LLC (“Kroll”) at: https://cases.ra.kroll.com/ZipsCarWash, (ii) (888) 343-1371
(Toll-Free)       or     (646)      876-2491       (International),      and/or     (iii)    emailing
ZipsCarWashInfo@ra.kroll.com. Please note that the Claims and Noticing Agent cannot advise
you on how to file, or whether you should file, a Proof of Claim.




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